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UNITED STATES v. DANIEL FLINT

  

 

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gC DEPUTY

 

 

 

 

 

 

 

 

 

 

 

 

 

 

EXHIBIT DESCRIPTION DATE DATE
. IDENTIFIED | ADMITTED
1 Defendant’s International Human
Rights Commission “Diplomatic
Identity Card” (Physical Exhibit) yof fe jel
2 Photographs of “Diplomatic Identity
Card” lope | soft
3 Binder Seized From Defendant on July
25, 2017 (Physical Exhibit) (of) P- /ol/P
4 July 24, 2017 IHRC Courier Letter lef (2 jo /y P
5 May 25, 2015 IHRC Letter to U.S.
Secretary of State /0f/7 /0/)2-
6 Copy of 1975 Vienna Convention on the .
Representation of States in their
Relations with International /o/j7- 10/7
Organizations of a Universal
Character
7 Photographs of Flint’s Attorney Bar
Cards : (2(1F 72 [/7-
8 Photocopy of Shumake IHRC Card / of /P- fo f/F~-
9 June 28, 2016 IHRC Letter to Republic
Se Kenys /ofi2 | pefF
10 Folio IHRC Document Daniel Flint
(physical exhibit)
11 ORD photocopies of courier letter and
Identification Cards (July 20, 2017) fof fie jo/t
12 July 20, 2017 Chicago O’Hare
International Airport Video Clip 1 1 6/ tte loli

 

 

 

 

 
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UNITED STATES v. DANIEL FLINT

 

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EXHIBIT DESCRIPTION | DATE DATE
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13 July 20, 2017 Chicago O’Hare

International Airport Video Clip 2 pofte volte
14 July 20, 2017 Chicago O'Hare

International Airport Video Clip 3 (o/b 161
15 July 20, 2017 Chicago O’ Hare y

International Airport Video Clip 4 /0//6 folty
16 July 20, 2017 Chicago O’ Hare J /

International Airport Video Clip 5 (°sle [0/1 hb
17 July 20, 2017 Chicago O’Hare

International Airport Video Still

images
18 Daniel Flint Virgin American Airline

Ticket Records for July 20, 2017
19, Daniel Flint Delta Airlines Ticket

Records for July 20, 2017
20 Photographs of TSA Checkpoint and

Signage at Midway {oO Mh fo |b
21 July 20, 2017 Chicago Midway

International Airport Video Clip 1 1° ff poltt
22 July 20, 2017 Chicago Midway :

International Airport Video Clip 2 sole yolrh
23 July 20, 2017 Chicago Midway

International Airport Video Clip 3 (Mp 701 /e
24 July 25, 2017 Chicago Midway

International Airport Video Clip 1 (ofy7- jo WZ
25 July 25, 2017 Chicago Midway

International Airport Video Clip 2 /ofp- 0 /yy-

 

 

 

 

 

 
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UNITED STATES v. DANIEL FLINT

 

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EXHIBIT DESCRIPTION DATE DATE
IDENTIFIED | ADMITTED
26 July 25, 2017 Chicago Midway
International Airport Video Clip 3 (oF (ofyZ.
27 July 25, 2017 Chicago Midway /
International Airport Video Clip 4 /0//7 / of
28 Still Images of July 25 MDW Video (0 [yZ (o fy.
29 “THRC Diplomatic Pouch” (Physical
Evidence) (2 WWZ- (0 [)P-
30 Photographs of “IHRC Diplomatic
Pouch” and U.S. Currency © 1o//7- 1 ol /F
31 MDW/TSA Training Bulletin: Screening
of Diplomatic Pouches VED 1ofz
32 Excerpt of TSA Standard Operating
Procedure (Diplomatic Courier Bags)
33 |U.S. Department of State Diplomatic
Note 12-306 jo fiF /olyf
34 Defendant’s Certified Passport
Records
35 Defendant Flint - LinkedIn Profile
36 Be On the Lookout Email wo/iF fof) Zz
37 WWW.THRC.US
38 Photograph of Flint’s Full Page IHRC
ID CARD
foft# | fof
39 Photograph of Folio IHRC Document

 

Daniel Flint

 

 

 

 

 
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UNITED STATES v. DANIEL FLINT

 

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EXHIBIT DESCRIPTION DATE DATE
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40 U.S. Dept. of State Letter 10.9.18
4l U.S. Dept. of State Letter Dated

10/8/18 (Daniel Flint/IHRC non-

record)
42 U.S. Dept. of State Letter re:

Shumake
43 Flint’s September 2016 Certified

Conviction Records folyFe 1olyF
44 Flint Resume
45 Picture of Sterile Area of LAX

Terminal 3 fo tZ-
46 Picture of U.S. Passports fo fy (ohF
47] Daniel Flint Audio-Recorded Interview

Clip 1 (U2. (o | P-
474 Transcript
48 Daniel Flint Audio-Recorded Interview

Clip 2 fe 1 7 70 [17-
48A Transcript
49 Daniel Flint Audio-Recorded Interview

Clip 3 fofy2 /o/yP
49A Transcript
50 Daniel Flint Audio-Recorded Interview

Clip 4 po llF- 10 f¢Z
SOA Transcript

 

 

 

 

 

 
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EXHIBIT DESCRIPTION DATE DATE
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51 Daniel Flint Audio-Recorded Interview
Clip 5 (02 f1P /of7P-
5iA Transcript
52 Daniel Flint Audio-Recorded Interview
Clip 6 (ofy2 (0 7
52A Transcript
53 Daniel Flint Audio-Recorded Interview
Clip 7 joht | rei
53A Transcript
54 Daniel Flint Audio-Recorded Interview
Clip 8 (ofiz- (0/2.
54A Transcript
55 Daniel Flint Audio-Recorded Interview
Clip 9 fe hy2- /o A.
55A Transcript
56 Daniel Flint Audio-Recorded Interview
Clip 10
56A Transcript
57 Daniel Flint Audio-Recorded Interview
Clip 11
5S7A Transcript
58 Daniel Flint Audio-Recorded Interview
Clip 12 Jolt (0/4 Z7-
58A Transcript

 

 

 

 

 

 
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EXHIBIT DESCRIPTION DATE DATE
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59 Screen shot of Google search:
“carrying cash in a diplomatic jo/17
courier bag in the United States”
60 Google Search results: “U.S.
Department of State Diplomacy in
Action - Diplomatic Pouches”
61 U.S. Department of State, Diplomatic
Note 12-306
62 Screen shot of Google search: “Robert
Shumake”
63 Google Search results: “Businessman
Robert Shumake comes to court - but
not alone,” dated March 29, 2017
64 Google Search results: “Southfield
mortgage auditor ordered to pay
restitution”
65 Oakland County Court Search Results:
“Robert Shumake”
726 of
GG PpA ote, (#23 and ¢ 40 NW (oftF
Abi
De Keadonk En 00673
Pepe (0/4
OF
/73 Sole
265 Jo [1 fe
L727 2/17
20f 1ef/7

jl 7

/0f//7 Jofy7

 
